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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


  NICHOLAS HARRISON, et al.,

                    Plaintiffs,

           v.                                    No. 1:18-cv-641 (LMB/IDD)

  MARK ESPER, Secretary of Defense, et al.,

                    Defendants.



  RICHARD ROE, et al.,

                    Plaintiffs,

           v.                                    No. 1:18-cv-1565 (LMB/IDD)

  MARK ESPER, Secretary of Defense, et al.,

                    Defendants.


           DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT
        Pursuant to Federal Rule of Civil Procedure 56, Defendants hereby move for summary
 judgment on all pending claims, for the reasons stated in the memorandum in support that is

 being filed concurrently with this motion.
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 DATE: June 3, 2020

 Respectfully submitted,

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